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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA,

          Plaintiff,
v.                                                     Case No. 02-80586
                                                       Honorable Patrick J. Duggan
FRANK BRASZA,

          Defendant.
                                         /

                   ORDER DENYING DEFENDANT’S MOTION
               TO REDUCE HIS SENTENCE PURSUANT TO RULE 35
              OF THE FEDERAL RULES OF CRIMINAL PROCEDURE

                         At a session of said Court, held in the U.S.
                            District Courthouse, Eastern District
                            of Michigan, on November 8, 2005.

                  PRESENT: THE HONORABLE PATRICK J. DUGGAN
                           U.S. DISTRICT COURT JUDGE

       On June 21, 2004, Defendant pled guilty to one count of conspiracy to commit

racketeering, in violation of 18 U.S.C. § 1962(d). This Court sentenced Defendant to

imprisonment for one year and one day on May 17, 2005. Presently before the Court is

Defendant’s “Motion to Reduce Sentence Via Rule 35 [of the Federal Rules of Criminal

Procedure],” filed September 22, 2005.

       Rule 35(a) provides that, “[w]ithin 7 days after sentencing, the court may correct a

sentence that resulted from arithmetical, technical, or other clear error.” FED. R. CRIM. P.

35(a). Defendant filed his motion outside this seven day period; in any event, he does not

assert an “arithmetical, technical, or other clear error” to support his motion. Rule 35
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otherwise only provides for a correction or reduction of a sentence “[u]pon the

government’s motion . . .” FED. R. CRIM. P. 35(b). The Government has responded to

Defendant’s motion, stating that it is not moving for a reduction of sentence. Defendant

therefore is not entitled to a reduction of his sentence based on Rule 35.

      On November 4, 2005, Defendant filed an “Administrative Petition” in which he

now states that he is not seeking a reduction in his sentence pursuant to Rule 35.

Defendant, however, cites no other authority granting this Court the power to modify his

sentence at this juncture based on the reasons set forth in his motion.1

      Therefore Defendant’s motion to reduce sentence is DENIED.

      SO ORDERED.


                                     s/PATRICK J. DUGGAN
                                     UNITED STATES DISTRICT JUDGE

Copies to:
John C. Engstrom
Frank S. Brasza
Thomas W. Cranmer




       1
         To the extent that Defendant is seeking relief from the Bureau of Prisons, Defendant’s
petition should not be submitted to the Court. The Court has no authority to direct the Bureau of
Prisons as to how a sentence should be carried out.
